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IN THE U'NITED STATES DISTRICT COUR.T
FOR THE WESTERN DISTRICT OF TENNESSEE

 

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ANTHONY D. HAYES, x
X
Plaintiff, X
X

vs. X No. 05-2230-D/v

X
CITY OF MEMPHIS, et al., X
X
Defendants. X
)(

 

ORDER DENYING PLAINTIFF'S MOTION
FOR INJ`UNC‘TION AND JUDICIAL ESTOPPEL

 

On May 31, 2005, plaintiff Anthony D. Hayes filed a
document, entitled “Special Pleading for Injunction and Judicial
Estoppel,” which appears to seek some unspecified form of
preliminary injunctive relief. In his motion, which purports to be
brought pursuant to Fed. R. Civ. P. 9, plaintiff asserts that “the
Defendants have conspired to prevent him from obtaining employment
and has recently petitioned the State of Tennessee Private
Protective Service Division to have his security license and
weapons permit revoked to prevent him from obtaining Work through
private security agencies and prospective clients. 05/31/05 Motion
at l. The plaintiff has allegedly been incarcerated by the Shelby
County Juvenile Court “three times since the months of March and
April for contempt” due to his inability to pay child support as he
is unemployed. Exhibit A to the motion is a May 4, 2005 revocation

letter addressed to the plaintiff by the State of Tennessee

Thw's document entered on the docket sheet in compiiance

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Department of Safety revoking his handgun carry permit because of
an order of protection issued to the plaintiff's estranged wife,
Katrina Hayes, on or about February 12, 2003.1
Although the motion invokes Fed. R. Civ. P. 9, that
provision is entirely inapplicable here. Instead, the Court
construes this motion as a motion for a preliminary injunction,
pursuant to Fed. R. Civ. P. 65(a).
The standard for issuance of a preliminary injunction in

the Sixth Circuit is as follows:

When determining whether to issue a preliminary

injunction, a district court must consider four factors:

“(1) whether the movant has a ‘strong’ likelihood of

success on the nerits; (2) whether the nmvant would

otherwise suffer irreparable injury; (3) whether issuance

of a preliminary injunction would cause substantial harm

to others; and (4) whether the public interest would be

served by issuance of a preliminary injunction. ” .

When considering these factors the district court should

balance each factor against the others to arrive at its

ultimate determination.
Marchwinski v. Howard, 309 F.3d 330, 332 (6th Cir. 2002) (citation
omitted). “A preliminary injunction is an extraordinary remedy
which should be granted only if the movant carries his or her
burden. of proving that the circumstances clearly demand it.”

Overstreet v. Lexington-Fayette Urban County Gov't, 305 F.3d 566,

573 (6th Cir. 2000) (“the proof required for the plaintiff to

 

1 The relevance of the other documents submitted by the plaintiff along
with this motion are unclear. Plaintiff apparently faxed documents to the
Tennessee Department of Safety on May 9, 2005 documenting that an arrest on
September 3, 2000 for unlawful possession of a weapon had been expunged. The
Department of Safety wrote to plaintiff in a letter dated May 16, 2005 that this
documentation was not relevant to the order of protection issued in 2003.

2

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obtain a preliminary injunction is much more stringent than the
proof required to survive a summary judgment motion”).

In general, “[t]he strength of the likelihood of success
on the merits that needs to be demonstrated is inversely
proportional to the amount of irreparable harm that will be
suffered if [an injunction] does not issue.” Baker v. Adams
Count Ohio Valle SChOol Bd., 310 F.3d 927, 928 (Gth Cir. 2002)
(per curiam) (stay of district court decision pending appeal).2

Plaintiff’s motion is without merit for several reasons.
The plaintiff has not submitted a proposed order detailing the
scope of the injunctive relief he seeks.3 He asks that “a permanent
injunction be issued preventing the Defendants from physical harm
and further calculated intimidation, injuryr and incarceration
unlawfully.” 05/31/05 Motion at 2. He also “seeks a judicial
estoppel of the Defendants egregious behavior of their continued
process of giving bad references to prospective employers in order
for the plaintiff to sustain a living which he has a constitutional
right, but is hindered by the Defendants.”

Plaintiff has not identified any specific action by any
defendant that can readily be enjoined. The Tennessee Department of

Safety and the Shelby County Juvenile Court are not parties to this

 

2 At a minimum, however, “the defendant must demonstrate at least

serious questions going to the merits and irreparable harm that decidedly
outweighs the harm that will be inflicted if a stay is granted.” Id.

3 Pursuant to Local Rule 7.2(a){l)(A), all motions are to be

accompanied by a proposed order. In this case, plaintiff's failure to comply with
the local rule requires the Court to speculate as to the precise nature of the
relief sought by the plaintiff.

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action. In addition, the revocation letter suggests that the 2003
order of protection was issued by the Shelby County Sheriff’s
Office, which is also not a party. Therefore, this Court is unable
to consider the merits of the plaintiff's motion in the absence of
a proposed order.

Moreover, the scope of the relief plaintiff apparently
seeks exceeds the scope of the original complaint (and plainly
exceeds the scope of the claims remaining after the screening
order). The complaint does not involve the contempt actions filed
against the plaintiff in the Shelby County Juvenile Court for
nonpayment of child support. Moreover, the plaintiff's estranged
wife, Katrina Hayes, has been dismissed as a party to this action.

The plaintiff is also not entitled. to a jpreliminary
injunction.prohibiting the Memphis Police Department from violating
the neutral-reference provision of its settlement agreement with
the plaintiff. As a preliminary matter, at this stage of the
litigation, the Court has no means of assessing the plaintiff’s
likelihood of success on the merits.4

Moreover, the plaintiff cannot demonstrate irreparable
injury as a matter of law. “Although the four factors must be
balanced, the demonstration of some irreparable injury is a sine

gua non for issuance of the injunction.” Patio Enclosures, Inc. v.

 

4 The Court notes, however, that the plaintiff did not prevail in
lawsuits filed in the Shelby County Circuit Court in 1999 or in case no. 00-2560-
Ml/A (W.D. Tenn.), in which he contended that the City of Memphis breached that
provision of the settlement agreement. The Court recognizes that the previous
judgments for the City of Memphis do not preclude the possibility that, in the
instances alleged in the complaint, the City of Memphis failed to provide neutral
references.

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Herbst, 39 Fed. Appx. 964, 967 (6th Cir. July 10, 2002); see also
Friendship Materials, Inc. v. Michigan Brick. Inc., 679 F.2d 100,
102-03 (6th Cir. 1982) (“[T]his court has never held that a
preliminary injunction may be granted without any showing that the
plaintiff would suffer irreparable injury without such relief.
Despite the overall flexibility of the test for preliminary
injunctive relief, and the discretion vested in the district court,
equity has traditionally required such irreparable harm before an
interlocutory injunction may be issued.”).

“A plaintiff's harm from the denial of a preliminary
injunction is irreparable if it is not fully compensable by
monetary' damages.” Overstreet, 305 F.3d at 578. Applying this
standard, courts have denied preliminary injunctions to protect
employees from the loss of their positions, reasoning that the loss
of income is fully compensable by money damages. ld; at 579. (“The
fact that an individual may lose his income for some extended
period of time does not result in irreparable harm, as income
wrongly withheld may be recovered through monetary damages”
(collecting cases). In this case, the injury to the plaintiff is
limited to the financial distress attendant upon a significant
period of unemployment and the depletion of the settlement
proceeds. Under these circumstances, he is not entitled to a
preliminary injunction. §§§ Hayes v. City of Memphis, 73 Fed. Appx.
140, 141 (6th Cir. Aug. 8, 2003) (“Haye’s alleged injury is fully
compensable by monetary relief and is, therefore, not

irreparable.”).

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For all the foregoing reasons, plaintiff’s motion for a
preliminary injunction is DENIED.

A decision denying a preliminary injunction is an
appealable order. Overstreet, 305 F.3d at 572. Accordingly, the
final issue to be addressed is whether the plaintiff should be
allowed to appeal this decision in fp;ma pauperis. Twenty-eight
U.S.C. § 1915(a)(3) provides that an appeal may not be taken in
fg£ma pauperis if the trial court certifies in writing that it is
not taken in good faith. The good faith standard is an objective
one. Coppedge v. United States, 369 U.S. 438, 445 (1962). The same
considerations that lead the Court to deny plaintiff's motion for
a preliminary injunction and judicial estoppel also compel the
conclusion that an appeal would not be taken in good faith. It is
therefore CERTIFIED, pursuant to 28 U.S.C. § 1915(a)(3), that any
appeal in this matter by plaintiff is not taken in good faith, and
plaintiff may not proceed on appeal in fg;ma pauperis.

The Sixth Circuit Court of Appeals decisions in McGore v.
Wrigglesworth, 114 F.3d 601 (6th Cir. 1997), and Floyd v. United
States Postal Serv., 105 F.3d 274 (6th Cir. 1997), apply to any
appeal filed by the plaintiff in this case.

If plaintiff files a notice of appeal, he must pay the
entire $255 filing fee required by 28 U.S.C. §§ 1913 and 1917. The
entire filing fee must be paid within thirty (30) days of the
filing of the notice of appeal.

By filing ea notice of appeal, the plaintiff becomes

liable for the full amount of the filing fee, regardless of the

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subsequent progress of the appeal. If the plaintiff fails to comply
with the above assessment of the appellate filing fee within thirty
days of the filing of the notice of appeal, the district court will
notify the Sixth Circuit, which will dismiss the appeal. If the
appeal is dismissed, it will not be reinstated once the fee is

paid. McGore, 113 F.3d at 610.

IT IS so 0RDERED this 17¢“ day of August, 2005.

TED STATES DISTRICT JUDGE

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CV-02230 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

Anthony D. Hayes
4554 Tammy Cove
l\/lemphis7 TN 38116--203

Honorable Bernice Donald
US DISTRICT COURT

